        Case 2:05-cr-00243-WBS-CKD Document 165 Filed 08/23/12 Page 1 of 2


 1

 2

 3

 4

 5

 6             IN THE UNITED STATES DISTRICT COURT FOR THE

 7                      EASTERN DISTRICT OF CALIFORNIA

 8

 9   UNITED STATES OF AMERICA,

10                    Plaintiff,              CR. NO. S-05-0243 EJG

11             v.                             ORDER DENYING REQUEST FOR
                                              APPOINTMENT OF COUNSEL FOR
12   JAVARIS TUBBS,                           POST-CONVICTION MOTION

13                  Defendant.
     _____________________________/
14

15        Defendant, a federal prisoner appearing pro se, has written

16   two letters to the court in recent weeks (one dated July 15, 2012

17   and received August 10, 2012; one dated August 2, 2012 and

18   received August 8, 2012).     Each letter describes defendant’s

19   dissatisfaction with his trial and appellate attorneys and

20   requests the appointment of counsel to raise issues of

21   ineffective assistance of counsel in a post-conviction motion.

22        A defendant has no constitutional right to appointed counsel

23   in post-conviction proceedings.        The Sixth Amendment right to

24   counsel extends only through the first appeal.        See Coleman v.

25   Thompson, 501 U.S. 722, 755-57 (1991).        However, if the court,

26                                      1
        Case 2:05-cr-00243-WBS-CKD Document 165 Filed 08/23/12 Page 2 of 2


 1   within its discretion, determines that “the interests of justice

 2   so require”, counsel may be appointed for persons seeking relief

 3   under sections 2241, 2254 or 2255 of Title 28 of the United

 4   States Code.   See 18 U.S.C. § 3006A(a)(2).      That statute reads as

 5   follows: “Whenever . . . the court determines that the interests

 6   of justice so require, representation may be provided for any

 7   financially eligible person who . . . (B) is seeking relief under

 8   section 2241, 2254 or 2255 of Title 28.”

 9        At this juncture, the court, in the exercise of its

10   discretion, declines to appoint counsel for defendant.         No post-

11   conviction motion has been filed, nor can the court determine

12   from defendant’s letters whether the “interests of justice”

13   require the appointment of counsel.

14        IT IS SO ORDERED.

15   Dated: August 21, 2012

16                                    /s/ Edward J. Garcia
                                      EDWARD J. GARCIA, JUDGE
17                                    UNITED STATES DISTRICT COURT

18

19

20

21

22

23

24

25

26                                      2
